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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

MARK ORTEGA, individually and on                                  Case No. 5:24-cv-00801
behalf of all others similarly situated,
                                                                  CLASS ACTION COMPLAINT

                 Plaintiff,                                       DEMAND FOR JURY TRIAL

v.

ENSURETY VENTURES, LLC
a Missouri Limited Liability Company


                 Defendant,


                          PLAINTIFF’S CLASS ACTION COMPLAINT

          Plaintiff, Mark Ortega (“Plaintiff” or “Ortega”) brings this Class Action Complaint and

Demand for Jury Trial against Defendant Ensurety Ventures, LLC (“Defendant” or “Defendant

Ensurety”) to stop them from violating the Telephone Consumer Protection Act (“TCPA”) by

making telemarketing calls without consent to consumers who registered their phone numbers on

the National Do Not Call registry (“DNC”). The Plaintiff also alleges that Defendant violated the

Texas Telephone Solicitation Act (“TTSA”) by making telemarketing calls to consumers in Texas.

          Plaintiff also seeks injunctive and monetary relief for all persons injured by Defendant’s

conduct. Plaintiff, for this Complaint, alleges as follows upon personal knowledge as to himself

and his own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by his attorneys.

                                                PARTIES

     1.       Plaintiff is an individual residing in this District.




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    2.       Defendant Ensurety is a Missouri Limited Liability Company that conducts business

in this District.

                                 JURISDICTION AND VENUE

    3.       This Court has personal jurisdiction over Defendant because the calls to the Plaintiff

were received in this District. The Court also has supplemental jurisdiction because the TTSA

claim relates to the same telemarketing campaign as the TCPA.

    4.       This Court has personal jurisdiction over the Defendant because the calls to the

Plaintiff were made into and received in this District.

    5.       The venue is proper under 28 U.S.C § 1391(b) because a substantial part of the events

giving rise to Plaintiff’s claims were directed to this District, such as, the Defendant made the calls

at issue into this District.

                                        INTRODUCTION

    6.       The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 § C.F.R 64.1200 (c)(2).

    7.       A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.” Id.

    8.       The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are promoted. 47

U.S.C. § 227(c)(5); 47 C.F.R § 64.1200(c)(2).

                                   FACTUAL ALLEGATIONS

    9.       Defendant sells car warranty services.




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    10.      Defendant uses telemarketing to promote its services and solicit new clients.

    11.      Defendant operates under the name Omega Auto Care.

    12.      Plaintiff is an individual who was in Texas at the time of the calls.

    13.      Plaintiff’s telephone number is (210)-744-XXXX.

    14.      At all times material to this action, Plaintiff uses the cell phone with area code (210)

and digits beginning with 744 primarily for residential purposes.

    15.      Plaintiff primarily utilizes this number for personal calls, text messaging with family

and friends, and managing his personal affairs.

    16.      Plaintiff registered his cellular telephone number with the National Do No Call

Registry on or about January 23, 2012.

    17.      Plaintiff registered his number to avoid receiving unwanted telemarketing and

solicitation calls.

    18.      Plaintiff never provided Defendant with his express consent to be contacted.

    19.      Plaintiff has no existing business relationship with Defendant.

    20.      Despite that, Defendant has contacted Plaintiff multiple times.

    21.      On or about May 3, 2024, Plaintiff received an unsolicited telemarketing call to his

cell phone from Defendant, from the number 252-298-1052.

    22.      When this call was answered, there was a distinct pause and delay before anyone

answered.

    23.      The distinct pause and delay before a live representative answered Plaintiff's call

demonstrates that the dialing system used possessed the present capacity to store or produce

telephone numbers and dial those numbers automatically. This shows that the system was working




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through a list of numbers and not operating under the direct control of a human caller for each

individual call.

    24.      Defendant was not identified either through Caller ID or at the start of the

telemarketing calls, thus the Plaintiff went through the telemarketing process so he could identify

the company.

    25.      Defendant stated it was calling from Defendant’s assumed name, Omega Auto Care,

to sell him car warranty services.

    26.      Plaintiff informed Defendant that he was on the do not call list and that Defendant

should not be contacting him.

    27.      Despite Plaintiff's prior request to not be contacted, Defendant placed two more calls

to Plaintiff attempting to sell car warranty services.

    28.      On or about May 3, 2024, Defendant called Plaintiff back regarding the car warranty

services it was previously trying to sell.

    29.      Plaintiff implored Defendant to not contact him anymore.

    30.      On or about May 10, 2024, Plaintiff received another unsolicited telemarketing call

from Defendant, from the number 352-619-9012.

    31.      During the call, Plaintiff was forced to remind Defendant that he had previously

spoken to representatives of Defendant and had explicitly requested to be placed on their internal

do-not-call list.

    32.      Despite this reminder, Defendant continued to attempt to sell Plaintiff a car warranty,

demonstrating a blatant disregard for Plaintiff's right to privacy and choice to not receive

telemarketing calls.




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    33.       The repeated, unauthorized telephonic communications that Plaintiff received from

Defendant, as alleged herein, have harmed the Plaintiff in the form of annoyance, nuisance, and

invasion of privacy, and occupied and otherwise disturbed the use and enjoyment of his phone.

    34.       Seeking redress for these injuries, Plaintiff Ortega, on behalf of himself and Classes

of similarly situated individuals, bring suit under the TCPA.

                                CLASS ACTION ALLEGATIONS

    35.       Plaintiff brings this action pursuant to Federal Rules of Civil Procedure § 23(b)(2) and

23(b)(3) and seeks certification of the following Classes:

              Telephone Consumer Protection Act Do Not Call Registry Class: All persons in
              the United States (1) whose telephone numbers were on the National Do Not Call
              Registry for at least 31 days, (2) who received more than one telemarketing call from
              or on behalf of Defendant, (3) within a 12-month period, (4) at any time in the period
              that begins four years before the date of filing this Complaint through the date of trial.

              Telephone Consumer Protection Act Autodial Class: All persons in the United
              States (1) who received a telemarketing call made using an automatic telephone
              dialing system or an artificial or prerecorded voice 2) to a prohibited phone line 3)
              without the prior express consent of the called party, 4) at any time in the period that
              begins four years before the date of filing this Complaint through the date of trial.

              Telephone Consumer Protection Internal Do Not Call Class: All persons in the
              United States who from four years prior to the filing of this action through class
              certification (1) Defendant called more than one time on their residential telephone
              number, (2) within any 12-month period (3) for substantially the same reason
              Defendant called Plaintiff, (4) including that at least once after the Defendant’s records
              reflect the person requested that they stop calling.

              Texas Telephone Solicitation Act Do Not Call Registry Class: All persons in the
              United States (1) who received a telephonic sales call regarding Defendant’s goods
              and/or services (2) to a number listed on the Texas No-Call list (3) at any time in the
              period that begins two years before the date of filing this Complaint through the date
              of trial.

    36.       Defendant and its employees or agents are excluded from the Class. Plaintiff reserves

the right to modify or amend the Class definition, as appropriate, during the course of this

litigation.



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   37.      Plaintiff brings all claims in this action individual and on behalf of Class Members

against Defendant.

                                           Numerosity

   38.      Members of the Class are so numerous that their individual joinder is impracticable.

   39.      On information and belief, based on the practices and technology used to call and

message Plaintiff, Members of the Class number in the thousands.

   40.      The precise number of Class Members and their identities are unknown to Plaintiff at

this time but may be determined through discovery.

   41.       Class Members may be notified of the pendency of this action by mail and/or

publication through the distribution records of Defendant.

                                          Commonality

   42.      Common questions of law and fact exist as to all Class Members and predominate

over questions affecting only individuals Class Members.

   43.      Common legal and factual questions, include, but are not limited to, whether

Defendant has violated the Telephone Consumer Protection Act or Texas Telephone Solicitation

Act, and whether Class Members are entitled to actual and/or statutory damages for the

aforementioned violations.

                                            Typicality

   44.      The claims of the named Plaintiff are typical of the claims of the Class because the

named Plaintiff, like all other Class Members, received unsolicited telephonic sales calls from the

Defendant without giving them his consent to receive such calls.

                                  Adequacy of Representation




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   45.         Plaintiff is an adequate representative of the Class because his interests do not conflict

with the interests of the Class Members he seeks to represent, he has retained competent counsel,

and he intends to prosecute this action vigorously.

   46.         The interest of Class Members will be fairly and adequately protected by Plaintiff and

his counsel.

                                               Superiority

   47.         The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class Members.

   48.         Many of the Class Members likely lack the ability and/or resources to undertake the

burden and expense of individually prosecuting what may be a complex and extensive action to

establish Defendant’s liability.

   49.         Individualized litigation increases the delay and expense to all parties and multiplies

the burden on the judicial system. This strain on the parties and the judicial system would be

heightened in this case, given the complex legal and factual issues at play.

   50.         Individualized litigation also presents a potential for inconsistent or contradictory

judgments.

   51.         In contrast, the class action device presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision by

a single court on the issue of Defendant’s liability.

   52.         Class treatment of the liability issues will ensure that all claims and claimants are

before this Court for consistent adjudication of the liability issues.

                                             COUNT I
                              Telephone Consumer Protection Act
                                  (Violation of 47 U.S.C. 227(c))
                       (On Behalf of Plaintiff and the Do Not Registry Class)



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   53.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 52

of this Complaint and incorporates them by reference herein.

   54.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

other persons or entities acting on Defendant’s behalf constitute numerous and multiple violations

of the TCPA, 47 U.S.C. § 227(c), by making telemarketing calls to the Plaintiff and the Class

despite their numbers being on the National Do Not Call Registry.

   55.     Defendant’s violations were negligent, willful, or knowing.

   56.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or entities

acting on Defendant’s behalf violations of the TCPA, 47 U.S.C. § 227(c), Plaintiff and members

of the Class presumptively are entitled to an award of between $500 and $1,500 in damages for

each and every call made.

   57.     Plaintiff and members of the Class are also entitled to and do seek injunctive relief

prohibiting Defendant from making telemarketing calls to numbers on the National Do Not Call

Registry in the future.

                                            COUNT II
                              Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. 227(b))
                          (On Behalf of Plaintiff and the Autodial Class)

   58.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 52

of this Complaint and incorporates them by reference herein.

   59.     The TCPA’s implementing regulation, 47 USC § 227(b), provides that “[i]t shall be

unlawful for any person within the United States … to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any




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automatic telephone dialing system or an artificial or prerecorded voice ... to any telephone

number assigned to a … cellular telephone service.” § 227(b)(1)(A)(iii).

   60.     As a result of Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call

Registry Class suffered actual damages and, under section 47 U.S.C. § 227(b)(3), are entitled,

inter alia, to receive up to $500 in damages per violation.

   61.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(b)(3), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                         COUNT III
                           Telephone Consumer Protection Act
                             (Violation of 47 C.F.R § 64.1200)
                 (On behalf of Plaintiff and the Internal Do Not Call Class)

   62.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 52

of this Complaint and incorporates them by reference herein.

   63.     Under 47 C.F.R § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:

           (1) Written policy. Persons or entities making calls for telemarketing
               purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.
           (2) Training of personnel engaged in telemarketing. Personnel engaged in
               any aspect of telemarketing must be informed and trained in the existence
               and use of the do-not-call list.
           (3) Recording, disclosure of do-not-call requests. If a person or entity
               making a call for telemarketing purposes (or on whose behalf such a call
               is made) receives a request from a residential telephone subscriber not to
               receive calls from that person or entity, the person or entity must record
               the request and place the subscriber's name, if provided, and telephone



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               number on the do-not-call list at the time the request is made. Persons or
               entities making calls for telemarketing purposes (or on whose behalf
               such calls are made) must honor a residential subscriber's do-not-call
               request within a reasonable time from the date such request is made. This
               period may not exceed thirty days from the date of such request. If such
               requests are recorded or maintained by a party other than the person or
               entity on whose behalf the telemarketing call is made, the person or entity
               on whose behalf the telemarketing call is made will be liable for any
               failures to honor the do-not-call request. A person or entity making a call
               or telemarketing purposes must obtain a consumer's prior express
               permission to share or forward the consumer's request not to be called to
               a party other than the person or entity on whose behalf a telemarketing
               call is made or an affiliated entity.
           (4) Identification of sellers and telemarketers. A person or entity making a
               call for telemarketing purposes must provide the called party with the
               name of the individual caller, the name of the person or entity on whose
               behalf the call is being made, and a telephone number or address at which
               the person or entity may be contacted. The telephone number provided
               may not be a 900 number or any other number for which charges exceed
               local or long-distance transmission charges.
           (5) Affiliated persons or entities. In the absence of a specific request by the
               subscriber to the contrary, a residential subscriber's do-not-call request
               shall apply to the particular business entity making the call (or on whose
               behalf a call is made), and will not apply to affiliated entities unless the
               consumer reasonably would expect them to be included given the
               identification of the caller and the product being advertised.
           (6) Maintenance of do-not-call lists. A person or entity making calls for
               telemarketing purposes must maintain a record of a consumer's request
               not to receive further telemarketing calls. A do-not-call request must be
               honored for 5 years from the time the request is made.

   64.     Defendant placed calls to Plaintiff and members of the Internal Do Not Call Class

without implementing internal procedures for maintaining a list of persons who request not to be

called by the entity and/or by implementing procedures that do not meet the minimum

requirements to allow Defendant to initiate telemarketing calls/text messages.

   65.     The TCPA provides that any “person who has received more than one telephone call

within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said




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regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C § 227(c)(5).

   66.     Defendant have therefore, violated 47 U.S.C § 227(c)(5). As a result of Defendant’s

conduct, Plaintiff and the other members of the Internal Do Not Call Class are each entitled to up

to $1,500 per violation.

                                             COUNT IV
                          Violation of Texas Telephone Solicitation Act
                                Tex. Bus. & Com. Code Ann. § 305
                    (On Behalf of Plaintiff and the Texas Telephone Solicitation
                            Act National Do Not Call Registry Class)

   67.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 52

of this Complaint and incorporates them by reference herein.

   68.     It is a violation of the TTSA to “make a telephone call or use an automatic dial

announcing device to make a telephone call for the purpose of making a sale if: (1) the person

making the call or using the device knows or should have known that the called number is a

mobile telephone for which the called person will be charged for that specific call; and (2) the

called person has not consented to the making of such a call to the person calling or using the

device or to the business enterprise for which the person is calling or using the device.” See Tex.

Bus. & Com. Code Ann. § 305.001.

   69.     The TTSA states that “[a] person who receives a communication that violates 47

U.S.C. Section 227, a regulation adopted under that provision, or Subchapter A may bring an

action in this state against the person who originates the communication”. See Tex. Bus. & Com.

Code Ann. § 305.053.

   70.     In violation of the TTSA, Defendant made and/or knowingly allowed telephonic

communications to Plaintiff and the Class members without Plaintiff’s and the Class members’




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prior express written consent even though the Class members were on the National Do Not Call

Registry.

    71.     As a result of Defendant’s conduct as alleged herein, and pursuant to § 305.053(b) of

the TTSA, Plaintiff and Class members were harmed and are each entitled to a minimum of

$500.00 in damages for each violation. Plaintiff and the Class members are also entitled to an

injunction against future calls. See id.

    72.     To the extent Defendant’s misconduct is determined to be willful and knowing the

Court should, pursuant to section 305.053(c) treble the amount of statutory damages recoverable

by the members of the Do Not Call Registry Class.

                                             COUNT V
                       Violation of Texas Regulation of Telephone Solicitation
                                 Tex. Bus. & Com. Code Ann. § 302
                                     (On Behalf of Plaintiff and
                                  Texas Telephone Solicitation Act)

    73.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 52

of this Complaint and incorporates them by reference herein.

    74.     Section 302.101(a) of Texas Business and Commerce Code requires sellers that makes

a telephone solicitation from a location in Texas or to a purchaser located in Texas to hold “a

registration certificate for the business location from which the telephone solicitation is made.”

Moreover, the Code requires a “separate registration certificate for each business location from

which a telephone solicitation is made.” See id (b).

    75.     In violation of the Code, Defendant made telephonic solicitations to Plaintiff and Class

Members without having a registration certificate for each business location at the time of the

calls.




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    76.     As a result of Defendant’s conduct as alleged herein, and pursuant to § 302.302(a) of

Tex. Bus. & Com. Code, Plaintiff and Class members were harmed and are each entitled to a

maximum of $5,000.00 in damages for each violation.

    77.     Under § 302.302(d), Plaintiff is entitled to “recover all reasonable costs of prosecuting

the action, including court costs and investigation costs, deposition expenses, witness fees, and

attorney’s fees.”

                                      PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

            a) Certification of the proposed Classes;

            b) Appointment of Plaintiff as representative of the Classes;

            c) Appointment of the undersigned counsel as counsel for the Classes;

            d) An order enjoining Defendant and/or its affiliates, agents, and/or other

                 persons or entities acting on Defendant’s behalf from making

                 telemarketing calls to numbers on the National Do Not Call Registry,

                 absent an emergency circumstance;

            e) An award to Plaintiff and the Classes of damages, as allowed by law;

            f) All reasonable attorneys’ fees, witness fees, court costs and other litigation costs

                 incurred by Plaintiff pursuant to Tex. Bus. & Com. Code §302.302(a); and

            g)      Such further and other relief as the Court deems just and proper.

                                          JURY DEMAND

            Plaintiff requests a jury trial.

                                               Respectfully Submitted,




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                                        MARK ORTEGA, individually and on behalf of
                                        all others similarly situated,

DATED this 19th day of July 2024.

                                        By:

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